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                               UNITED STATES DISTRICT COURT
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                            EASTERN DISTRICT OF WASHINGTON
6
     DONALD THORNTON,                           )
7                                               )
                  Plaintiff,                    )     NO.      CV-09-0003-LRS
8                                               )
           -vs-                                 )     ORDER TO SHOW CAUSE
9                                               )
     CAPITAL MANAGEMENT SERVICES, LP,           )
10                                              )
                  Defendant.                    )
11                                              )

12
          The Complaint herein was filed on January 8, 2009.                 Therefore, the
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     Court requires Plaintiff to show cause in writing within fifteen (15)
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     days from the date of this Order as to why this case should not be
15
     dismissed for failure to prosecute pursuant to Federal Rules of Civil
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     Procedure 41(b). FAILURE TO RESPOND WITHIN FIFTEEN (15) DAYS WILL RESULT
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     IN DISMISSAL WITHOUT PREJUDICE.          Accordingly,
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          IT IS ORDERED that Plaintiff show cause in writing within fifteen
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     (15) calendar days, or no later than March 25, 2011.
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          DATED this 7th day of March, 2011.
21

22
                                       s/Lonny R. Suko
23                             _____________________________
                                         LONNY R. SUKO
24                              UNITED STATES DISTRICT JUDGE
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     ORDER TO SHOW CAUSE
